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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,

                     Plaintiff,                                 8:15CR33

       vs.
                                                                 ORDER
ASHLEY O’FLAHERTY

                     Defendant.


      The Government has filed a Motion for Dismissal [Filing No. 184] of the Amended

Petition for Offender Under Supervision [Filing No. 150]. The motion will be granted.

      IT IS ORDERED:

      1.     The Government’s Motion for Dismissal [Filing No. 184] is granted; and

      2.     The Amended Petition for Offender Under Supervision [Filing No. 150], filed

             herein, is dismissed, without prejudice.



      Dated this 22nd day of July 2020.


                                                BY THE COURT:

                                                s/Laurie Smith Camp
                                                Senior United States District Judge
